




Dismissed and Memorandum Opinion filed March 15, 2007








Dismissed
and Memorandum Opinion filed March 15, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00107-CR

____________

&nbsp;

JACK WADE BODIFORD,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
174th District Court

Harris County, Texas

Trial Court Cause No. 1094746

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of forgery of a commercial instrument.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on January 19, 2007, to confinement for two years in
the Institutional Division of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed March
15, 2007.

Panel consists of Justices Yates, Anderson, and
Hudson.

Do Not Publish C Tex. R. App. P.
47.2(b)





